
464 S.E.2d 298 (1995)
342 N.C. 405
In the Matter of the Appeal of FAYETTEVILLE HOTEL ASSOCIATES, a North Carolina Limited Partnership, from the appraisal of certain real property by the Cumberland County Board of Equalization.
No. 619A94.
Supreme Court of North Carolina.
December 8, 1995.
Sandman &amp; Strickland, P.A. by Nelson G. Harris, Raleigh, for petitioner-appellant.
Danny G. Higgins, Deputy County Attorney, for respondent-appellee.
PER CURIAM.
AFFIRMED.
ORR, J., did not participate in the consideration or decision of this case.
